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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Lori Saroya,                                     Case No.: 24-cv-110 (DWF/DTS)

               Plaintiff,

v.

CAIR Foundation, Inc. d/b/a Council on                 MOTION TO COMPEL
American-Islamic Relations & CAIR,

               Defendant.




the reasons stated in the supporting Memorandum filed herewith, respectfully moves the

Court, pursuant to Rules 26, 33, 34 and 37 of the Federal rules of Civil Procedure, for an

Order compelling Defendant CAIR Foundation, Inc. to produce documents responsive to

                                        -4, 8, 10-16, 18-25 and 32-41, and to provide full

                                                    -19.

       This

to Compel; (ii)                                                                      ; (iii)

the Declaration of Steven C. Kerbaugh in Support of

Compel; (iv) the Meet and Confer Statement of Steven C. Kerbaugh; (v) all the files and

records herein; and (vi) such other evidence and argument as may be presented to the Court

before or at the time of the hearing.


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Dated: July 26, 2024               SAUL EWING LLP

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